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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS                                                  ENTERED
                                     BANKRUPTCY COURT                                                        04/07/2021


                                                          )
    In re:                                                )   Chapter 11
                                                          )
    CHESAPEAKE ENERGY CORPORATION,                        )   Case No. 20-33233 (DRJ)
    et al.,1
                                                          )
                           Debtors.                       )   (Jointly Administered)
                                                          )

  ORDER (I) DIRECTING THE APPLICATION OF RULES 9014, 9019, AND 7023, (II)
    GRANTING PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT,
(III) PRELIMINARILY CERTIFYING A CLASS FOR SETTLEMENT PURPOSES, (IV)
 APPROVING FORM AND MANNER OF CLASS NOTICE, AND (V) SETTING DATE
    FOR FINAL APPROVAL HEARING ON FINAL APPROVAL OF SETTLEMENT




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 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.
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       Upon the motion (the “Motion”) of Chesapeake Energy Corporation (“Chesapeake”) for

entry of an order (this “Order”): (i) directing the application of Rules 9014, 9019, and 7023 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and, by incorporation, Rule 23

of the Federal Rules of Civil Procedure (the “Federal Rules”), (ii) granting preliminary approval

of the class action settlement attached as Exhibit 3 to the Motion (the “Settlement Agreement”);

(iii) preliminarily certifying a class for settlement purposes, (iv) approving the form and manner

of Class Notice to members of the Settlement Agreement, and (v) setting date for final approval

heraing on final approval of the settlement, and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a preliminary

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is permissible pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted to the extent set forth herein.




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        2.      The Court has considered the objection filed by the “Pennsylvania Proof of Claims

Lessors” (Dkt. No. 3335) and overrules the objection at this time, without prejudice to such lessors’

rights to raise any issues in the District Court.

        3.      Accordingly, the Settlement Agreement attached as Exhibit 3 to the Motion is

hereby preliminarily approved. The Court preliminarily finds that the Settlement Agreement

complies with Federal Rule of Civil Procedure 23 and the Class Action Fairness Act of 2005

(“CAFA”) (28 U.S.C. §1715).

        4.      The Plan of Allocation attached as Exhibit B to the Settlement Agreement is hereby

preliminarily approved.

        5.      The form of the notice to be sent to the Class Members (the “Class Notice”)

attached to the Settlement Agreement as Exhibit D and the service of the Class Notice by the Epiq

Corporate Restructuring LLC (the “Settlement Administrator”) to each class Member, at the last

known address of each Class Member according to the Debtors’ books and records comports with

all applicable law and is hereby approved.

        6.      The Class Notice shall be mailed by first-class mail, postage prepaid, by the Notice

Administrator within 15 business days following the entry of this Order.

        7.      The parties shall file motions and memoranda in support of final approval of the

Settlement Agreement and Class Counsel shall file their request for attorneys’ fees and expense

reimbursements within 45 days of this Order.

        8.      Any member of the Class who wishes to object to or comment on the proposed

settlement, or to object to Class Counsel’s request for attorney’s fees and expense reimbursements,

must postmark and mail such objections or comments by 60 days from the order. In accordance




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with the procedures set forth in the Settlement Notice, any such objections or comments must be

mailed to Class Counsel, Chesapeake’s counsel, and the Court.

       9.      Any member of the Class who wishes to exclude himself or herself from the Class

Settlement must postmark and mail the exclusion request to Class Counsel and Chesapeake’s

counsel within 60 days of the order.

       10.     Any class member who wishes to appear and be heard at the final approval hearing

must postmark and mail notice of such intention by June 15, 2021. Notice of such intention must

be mailed to Class Counsel, Chesapeake’s counsel, and the Court.

       11.     By June 18, 2021, Class Counsel and Chesapeake may file a response to any Class

Member’s objections or comments.

       12.     The final Fairness hearing will be resolved by an Article III court, and to that end,

Chief Judge Rosenthal of the U.S. District Court for the Southern District of Texas has determined

that the Fairness Hearing will be conducted on June 29, 2021 at 10:00 a.m. to consider final

approval of the Settlement Agreement and Class Counsel’s request for attorneys’ fees and expense

reimbursements. The Court may adjourn the Fairness Hearing without further notice of any kind.

       13.     This Court retains jurisdiction to construe, interpret, enforce, and implement the

Settlement Agreement and this Order.

       SO ORDERED this ____ day of _________, 2021.
       Signed: April 07, 2021.

                                                     ____________________________________
                                                     DAVID R. JONES
                                                     UNITED STATES BANKRUPTCY JUDGE




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  APPROVED AS TO FORM BY                 APPROVED AS TO FORM BY COUNSEL
  CLASS COUNSEL AND COUNSEL              FOR THE PENNSYLVANIA PROOF OF
  FOR THE NON MEC PLAINTIFFS:            CLAIM LESSORS

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  /s/ Michael D. Donovan (with           Ira Neil Richards
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